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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 THE FORTUNE SOCIETY, INC.,

                  Plaintiff,

             v.                                        Civil Action No. 1:22-cv-06584-PKC-SJB

 iAFFORD NY, LLC,


                  Defendant.




                           CORPORATE DISCLOSURE STATEMENT

        Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendant iAfford NY,

LLC (“iAfford NY”) by and through undersigned counsel of record, hereby states that no

publicly held corporation owns 10% or more of iAfford NY’s stock or equivalent equity

interests.

        iAfford NY will supplement this Disclosure Statement if any required information

changes or is revealed upon further investigation.




Dated: New York, New York                    NIXON PEABODY LLP
       November 18, 2022

                                             By: /s/ Travis Hill
                                                     Travis Hill

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